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                IN THE UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF FLORIDA
                            TALLAHASSEE DIVISION




UNITED STATES OF AMERICA,

                    Plaintiff,

v.                                                                  4:92cr4013-WS

EGNATIUS JOHNSON,                                                   4:07cv414-WS

                    Defendant.



                  ORDER ADOPTING THE MAGISTRATE JUDGE’S
                      REPORT AND RECOMMENDATION

       Before the court is the magistrate judge's report and recommendation (doc.

1762) docketed October 4, 2007. The magistrate judge recommends that the

defendant's “Request for the Original Writ of Habeas Corpus for the Execution of

Conviction and Sentence” (doc. 1758) be summarily denied. The defendant has filed no

objections to the report and recommendation.

       Upon review of the record, this court has determined that the magistrate judge’s

report and recommendation should be adopted.

       Accordingly, it is ORDERED:

       1. The magistrate judge's report and recommendation (doc.1 762) is hereby

ADOPTED and incorporated by reference into this order.
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       2. The defendant’s “Request for the Original Writ of Habeas Corpus for the

Execution of Conviction and Sentence” (doc. 1758) is hereby DENIED.

       3. The clerk shall enter judgment accordingly and shall close Case No.

4:07cv414-WS.

       DONE AND ORDERED this         14th   day of   November      , 2007.




                                        s/ William Stafford
                                        WILLIAM STAFFORD
                                        SENIOR UNITED STATES DISTRICT JUDGE




Case No. 4:92cr4013-WS
